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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA          :     CRIMINAL ACTION
                                  :     NO. 16-130-01
          v.                      :
                                  :
CHARLES M. HALLINAN               :


                                O R D E R

          AND NOW, this 10th day of May, 2018, upon

consideration of Defendant Charles M. Hallinan’s Motion to Stay

Any Further Review by the Government of Materials Seized on

March 28, 2018 (ECF No. 459), and the Government’s response

thereto (ECF No. 460), it is hereby ORDERED that Defendant

Hallinan’s request for a stay is DENIED and the review should

proceed in accordance with the Court’s Order dated May 1, 2018

(ECF No. 441).1



          AND IT IS SO ORDERED.



                            _s/Eduardo C. Robreno__
                            EDUARDO C. ROBRENO, J.




1
           The Court will take under advisement the other matters
raised in Defendant Hallinan’s instant motion, including those matters
not previously addressed which were raised in Defendant Hallinan’s
Motion for the Return of Property (ECF No. 422).
